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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

                                               JURY TRIAL DEMANDED
MALIBU MEDIA, LLC,
                                               Civil Action No. ______________
                    Plaintiff,
                                               COMPLAINT - ACTION
v.                                             FOR DAMAGES FOR PROPERTY
                                               RIGHTS INFRINGEMENT
JOHN DOE subscriber assigned IP address
24.0.207.93,

                    Defendant.


      Plaintiff, Malibu Media, LLC, sues Defendant John Doe subscriber assigned

IP address 24.0.207.93, and alleges:

                                     Introduction

      1.     This matter arises under the United States Copyright Act of 1976, as

amended, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”).

      2.     Defendant is a persistent online infringer of Plaintiff’s copyrights.

Defendant’s IP address as set forth on Exhibit A was used to illegally distribute each

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of the copyrighted movies set forth on Exhibit B.

       3.     Plaintiff is the registered owner of the copyrights set forth on Exhibit B

(the “Copyrights-in-Suit”).

                              Jurisdiction And Venue

       4.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338 (patents, copyrights,

trademarks and unfair competition).

       5.     Plaintiff used proven IP address geolocation technology which has

consistently worked in similar cases to ensure that the Defendant’s acts of copyright

infringement occurred using an Internet Protocol address (“IP address”) traced to a

physical address located within this District, and therefore this Court has personal

jurisdiction over the Defendant because (i) Defendant committed the tortious

conduct alleged in this Complaint in this State, and (ii) Defendant resides in this

State and/or (iii) Defendant has engaged in substantial and not isolated business

activity in this State.

       6.     Based upon experience filing over 1,000 cases the geolocation

technology used by Plaintiff has proven to be accurate to the District level in over

99% of the cases.

       7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c),

because: (i) a substantial part of the events or omissions giving rise to the claims


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occurred in this District; and, (ii) the Defendant resides (and therefore can be found)

in this District and resides in this State; additionally, venue is proper in this District

pursuant 28 U.S.C. § 1400(a) (venue for copyright cases) because Defendant or

Defendant’s agent resides or may be found in this District.

                                         Parties

      8.     Plaintiff, Malibu Media, LLC, (d/b/a “X-Art.com”) is a limited liability

company organized and existing under the laws of the State of California and has its

principal place of business located at 9701 Wilshire Blvd., 10th Floor, Beverly Hills,

CA 90212.

      9.     Plaintiff only knows Defendant by his, her or its IP Address.

Defendant’s IP address is set forth on Exhibit A.

      10.    Defendant’s Internet Service Provider can identify the Defendant.

                                 Factual Background

       I.    Defendant Used the BitTorrent File Distribution Network To Infringe
             Plaintiff’s Copyrights

      11.      The BitTorrent file distribution network (“BitTorrent”) is one of the

most common peer-to-peer file sharing systems used for distributing large amounts

of data, including, but not limited to, digital movie files.

      12.    BitTorrent’s popularity stems from the ability of users to directly

interact with each other in order to distribute a large file without creating a heavy

load on any individual source computer and/or network. The methodology of
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BitTorrent allows users to interact directly with each other, thus avoiding the need

for intermediary host websites which are subject to DMCA take down notices and

potential regulatory enforcement actions.

         13.   In order to distribute a large file, the BitTorrent protocol breaks a file

into many small pieces. Users then exchange these small pieces among each other

instead of attempting to distribute a much larger digital file.

         14.   After the infringer receives all of the pieces of a digital media file, the

infringer’s BitTorrent client software reassembles the pieces so that the file may be

opened and utilized.

         15.   Each piece of a BitTorrent file is assigned a unique cryptographic hash

value.

         16.   The cryptographic hash value of the piece (“piece hash”) acts as that

piece’s unique digital fingerprint.       Every digital file has one single possible

cryptographic hash value correlating to it.          The BitTorrent protocol utilizes

cryptographic hash values to ensure each piece is properly routed amongst

BitTorrent users as they engage in file sharing.

         17.   The entirety of the digital media file also has a unique cryptographic

hash value (“file hash”), which acts as a digital fingerprint identifying the digital

media file (e.g. a movie). Once infringers complete downloading all pieces which

comprise a digital media file, the BitTorrent software uses the file hash to determine


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that the file is complete and accurate.

        18.   Plaintiff’s investigators, IPP International UG and Excipio GmbH

established a direct TCP/IP connection with the Defendant’s IP address as set forth

on Exhibit A.

        19.   Plaintiff’s investigators downloaded from Defendant one or more

pieces of each of the digital media files identified by the file hashes listed on Exhibit

A.

        20.   Each digital media file as identified by the file hash listed on Exhibit A

correlates to a copyrighted film owned by Plaintiff, as set forth on Exhibit B.

        21.   A full copy of each digital media file was downloaded from the

BitTorrent file distribution network, and it was confirmed through independent

calculation that the file hash correlating to each file matched what is listed on Exhibit

A. At no point was Plaintiff’s copyrighted content uploaded to any other BitTorrent

user.

        22.   Each digital media file as identified by the file hash listed on Exhibit A

has been verified to contain a digital copy of a movie that is identical (or

alternatively, strikingly similar or substantially similar) to Plaintiff’s corresponding

original copyrighted work listed on Exhibit B.

        23.   Plaintiff owns the copyrights to the original works (the “Copyrights-in-

Suit”). An overview of the Copyrights-in-Suit, including each hit date, date of first


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publication, registration date, and registration number issued by the United States

Copyright Office is set forth on Exhibit B.

       24.    Defendant downloaded, copied, and distributed a complete copy of

Plaintiff’s works without authorization as enumerated on Exhibits A and B.

       25.    Plaintiff’s investigators connected, over a course of time, with

Defendant’s IP address for each digital media file identified by the hash value as

listed on Exhibit A. The most recent TCP/IP connection between IPP and the

Defendant's IP address for each file hash value listed on Exhibit A is included within

the column labeled Hit Date UTC. UTC refers to Universal Time which is utilized

for air traffic control as well as for computer forensic purposes.

       26.    Plaintiff’s evidence establishes that Defendant is a habitual and

persistent BitTorrent user and copyright infringer.

                                   Miscellaneous

       27.    All conditions precedent to bringing this action have occurred or been

waived.

       28.    Plaintiff has retained counsel and is obligated to pay said counsel a

reasonable fee for its services.

                                      COUNT I
                       Direct Infringement Against Defendant

       29.    The allegations contained in paragraphs 1-28 are hereby re-alleged as

if fully set forth herein.
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       30.      Plaintiff is the owner of the Copyrights-in-Suit, as outlined in Exhibit

B, each of which covers an original work of authorship.

       31.      By using BitTorrent, Defendant copied and distributed the constituent

elements of each of the original works covered by the Copyrights-in-Suit.

       32.      Plaintiff did not authorize, permit or consent to Defendant’s distribution

of its works.

       33.      As a result of the foregoing, Defendant violated Plaintiff’s exclusive

right to:

       (A)      Reproduce the works in copies, in violation of 17 U.S.C. §§ 106(1) and

501;

       (B)      Redistribute copies of the works to the public by sale or other transfer

of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and

501;

       (C)      Perform the copyrighted works, in violation of 17 U.S.C. §§ 106(4)

and 501, by showing the works’ images in any sequence and/or by making the

sounds accompanying the works audible and transmitting said performance of the

works, by means of a device or process, to members of the public capable of

receiving the display (as set forth in 17 U.S.C. § 101’s definitions of “perform” and

“publically” perform); and

       (D)      Display the copyrighted works, in violation of 17 U.S.C. §§ 106(5) and


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501, by showing individual images of the works non-sequentially and transmitting

said display of the works by means of a device or process to members of the public

capable of receiving the display (as set forth in 17 U.S.C. § 101’s definition of

“publically” display).

      34.    Defendant’s infringements were committed “willfully” within the

meaning of 17 U.S.C. § 504(c)(2).

      WHEREFORE, Plaintiff respectfully requests that the Court:

      (A)    Permanently enjoin Defendant and all other persons who are in active

concert or participation with Defendant from continuing to infringe Plaintiff’s

copyrighted works;

      (B)    Order that Defendant delete and permanently remove the digital media

files relating to Plaintiff’s works from each of the computers under Defendant’s

possession, custody or control;

      (C)    Order that Defendant delete and permanently remove the infringing

copies of the works Defendant has on computers under Defendant’s possession,

custody or control;

      (D)    Award Plaintiff statutory damages per infringed work pursuant to 17

U.S.C. § 504(a) and (c);

      (E)    Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

U.S.C. § 505; and


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      (F)   Grant Plaintiff any other and further relief this Court deems just and

proper.

                        DEMAND FOR A JURY TRIAL

      Plaintiff hereby demands a trial by jury on all issues so triable.



                                              Respectfully submitted,

                                       By:    /s/ Patrick J. Cerillo
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